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                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                           wvvvv.flsb.uscourts.gQy
                                                      CHAPTER 13 PLAN ^Individual Adjustment of Debts^
                              □                                            Original Plan

                              [■] First                                    Amended Plan (Indicate 1 st, 2nd, etc. Amended, if applicable)

                              □                                            Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
                                                               JOINT DEBTOR:                                          CASE NO.: 23-18636-CLC
    DEBTOR; Eugenio Delgado Jimenez
    SS#: xxx-xx- 0430                                            SS#: xxx-xx-

    I.           NOTICES

                 To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                      modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                      the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Yoyr claim may
                                        be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                      on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                      □ Included             [■] Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                      r~1   Included         (3 Not included
         out in Section III
         Nonstandard provisions, set out in Section IX                                                                [■]   Included         □ Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE

                 A.     MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filin^conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.    $760.37               for months    1    to 60           ;

                 B.     DEBTORfSV ATTORNEY'S FEE;                                               □ NONE   □ PRO BONO
             Total Fees:                $5,200.00           Total Paid:                    $2,000.00       Balance Due:         $3,200.00

             Payable _            $574.35           /month (Months     1    to     5       )

             Payable _            $323.25           /month (Months          to             )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                           □ NONE
                 A. SECURED CLAIMS:                 H NONE
                 B. VALUATION OF COLLATERAL;                      @ NONE
                 C. LIEN AVOIDANCE @ NONE
                 D. SURRENDER OF COLLATERAL;                          1] NONE
                 E. DIRECT PAYMENTS                  □ NONE
                 Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                      The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                      confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                      codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.



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                                                                             Debtor(s): Eugenio Delgado Jimenez                Case number: 23-18636-CLC

                             Name of Creditor              Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                             Shellpoint Mortgage           3452                                 3735 NE 15 Street, Homestead, FL 33033
                        1.
                             Servicing
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS Fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                  d NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                          □ none
                   A. Pay          $109.98         /month (Months    1    to 5      )

                      Pay          $251.10         /month (Months   6     to 6      )

                      Pay          $574.35         /month (Months   7     to 60 )

                      Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

                   B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                   C. SEPARATELY CLASSIFIED:                ® NONE
VI.          STUDENT LOAN PROGRAM                      □ NONE
        A.         FEDERAL - Direct Pay                [i] None
        B.         PRIVATE-Paid in the Chapter 13 Plan            [S] None
VII.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                        □ NONE
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee,
                     [d Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                        terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                        herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                    Name of Creditor                                                                Acet. No. (Last 4 Digits) Assume/ReXeej
                                                           2021 Mercedes-Benz GLC                   5001
                    Mercedes _ Benz Financial
              1.    Services                               Vin: W1N0G8DB9MF981575                                            (d Assume □ Reject
VIII.        INCOME TAX RETURNS AND REFUNDS;

                     Id The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(0 1-4 on an
                        annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                        Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                        provide the trustee (but not file with the Court) witli verification of their disposable income if their gross household income
                        increases by more than 3% over the previous year’s income. [Miami cases]
IX.          NON-STANDARD PLAN PROVISIONS □ NONE
             11 Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                 Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                    before confirmation
             □ Mortgage Modification Mediation




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                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare thaUhe-R             ;oing chapter 13 plan is true and correct under penalty of perjury.


                         L.   J)               Debtor                                                                Joint Debtor
                                7                                 Date                                                                     Date
 Eugenio Delgado Jimenez




                                                                Date
   Attorney witli permission to sign on
    Debtor(s)' behalf who certifies that
    the contents of the plan have been
      reviewed and approved by the
                        Debtor(s).*

  By filing this document, the Attorney lor Debtor(s) or Debtor(s), if not represented by counsel, eertifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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